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                              UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA               :

                  v.                   : NO. 3:06CR161(EBB)

JAMES GALANTE, ET AL                   :

                                 RULING ON MOTIONS TO
                                MODIFY RESTRAINING ORDER

       Defendants Automated Waste Disposal, Inc., (AWD), Diversified Waste Disposal, Inc.,
(DWD), Superior Waste Disposal, Inc., JAT Truck Repair Service, Inc., 530 Main Street North

Corp. d/b/a Nutmeg Investments, Superior Waste Disposal, Inc., Trashers, LLC, Thomas Refuse

Services, Inc., Danbury Carting Company, Inc., Transfer Systems, Inc. And Advanced Recycling

Corp. have moved [Doc. No. 120] to modify the restraining order entered ex parte by this court

on June 8, 2006, in the above-captioned case. Defendants request that the order be modified to

“(1) free assets of the defendants that are not properly subject to forfeiture according to the

allegations contained in the indictment; (2) sever assets sufficient to pay attorneys’ fees

associated with this action; and/or (3) any other and further relief as justice requires.”

       Defendant corporations maintain their right to counsel is jeopardized in violation of the

Sixth Amendment to the United States Constitution by the restraining order and seek a due

process hearing to determine whether the restrained assets are properly subject to forfeiture and

whether the government can establish forfeiture through an adequate showing of probable cause.

Absent such a showing, they demand the assets be severed and returned to them.

       Defendants AWD And DWD also seek payment of the legal fees of unidentified

employees, pursuant to bylaws adopted by them, alleging that it is “highly unlikely” that these

employees will qualify for the appointment of counsel under the Criminal Justice Act but will be

unable to pay the expenses and costs associated with their legal defense.1

       1
          The movants have offered no evidence, by affidavit or otherwise, to support this claim.
It is also not clear from their memorandum whether the employees to whom they refer are co-
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       The bylaws of both AWD and DWD, adopted under the provisions of §§ 33-770 through

33-779 of the Connecticut General Statutes, provide, in relevant part, as follows:

                    Any person made a party to any action by reason of the
                fact that he...is or was a Director, Officer or employee of
                the Corporation... shall be indemnified by the Corporation
                against the reasonable expenses, including attorneys’ fees,
                actually and necessarily incurred by him in connection with
                the defense of such action... except in relation to matters as
                to which it shall be adjudged in such action that such Officer,
                Director, or employee is liable for negligence or misconduct
                in the performance of his duties.

       Defendants also claim that the order is excessive and disproportionate in violation of the

Eighth Amendment to the United States Constitution.
       The government agrees with the corporate defendants that the restraining order should be

modified to permit the payment of their own legal costs but not any additional work that consists

of assistance in the defense of any individual employee, manager, officer, director or owner. The

government also requests that the modification require an ex parte application to the Court for a

finding of necessity before defendants retain any expert consultants or witnesses and obligate

themselves for the expenses of same.

       However, the government claims that these defendants lack standing to assert the Sixth

Amendment rights of their officers and employees and that, in any event, the defendants’

corporate state law obligations under their bylaws are preempted by the federal forfeiture statutes

under the Supremacy Clause of the Constitution.

                                             Discussion

       The court agrees with the government that the restraining order should be modified to

allow for the payment of the legal defense costs of the defendant corporations.2 In addition to

defense counsel, defendants have retained a certified public accountant, J. Allen Kosowsky, to

assist in the preparation of their defense and to monitor the businesses. Payment for the services

of counsel and of Mr. Kosowsky as a forensic accountant in the defense of the movant


defendants only.
       2
           A ruling was issued on July 26, 2006 [Doc. No. 400] authorizing these payments.
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corporations is authorized. However, court authorized monitors have been retained and no

payment shall be made for any alleged monitoring by Mr. Kosowsky subsequent to the issuance

of the restraining order. The court declines to require these defendants to apply to the court prior

to the retention of any other expert consultants or witnesses.

        Defendants AWD and DWD argue that their obligations under the above-cited bylaws

and the Connecticut statutes under which they were adopted require a pretrial hearing as to the

validity of the restraining order. .

        Defendants Ronald Zollo, Ciro Viento and Richard Caccavale have each moved for

modification of the restraining order to authorize payment of their legal fees in accordance with
the bylaws. Defendant Zollo alleges he will be unable to pay the legal fees of his defense3 and

that his Sixth Amendment right to counsel of his choice is thereby violated. Defendants Viento

and Caccavale have simply adopted the arguments of their co-defendants

        The restraining order was entered pursuant to 18 U.S.C. § 1963(d)(1)(A) which, upon the

filing of an indictment, authorizes the ex parte issuance of a restraining order to preserve the

availability of assets forfeitable to the United States by any person charged in the indictment, as

are the corporate defendants, with violating the provisions of 18 U.S.C. § 1962. Upon the

conviction of any such person the court is directed to enter a judgment of forfeiture, § 1963(e),

and the interest of the United States in such assets is deemed to have vested in the United States

upon the commission of the acts giving rise to the forfeiture. The forfeiture is mandated

irrespective of any provision of state law, § 1963(a).

        To the extent that the movants claim that the corporate state law obligations require

modification of the restraining order to permit payment of defense costs under the bylaws, they

are seeking to diminish the values of the assets which, in the event of conviction, are deemed to

have been the property of the United States since the commission of the racketeering acts giving

rise to the forfeiture. Such a result would conflict with the federal law and, accordingly, the state

law is preempted as “an obstacle to the full purposes and objectives of Congress.” Silkwood v.

        3
            He has offered no financial affidavit to support this claim.
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Kerr McGee Corp., 464 U.S. 238, 248 (1984)

        The Sixth Amendment right to counsel of one’s choice is limited by the financial ability

of the defendant to pay the costs of such counsel from funds lawfully available to him. It would

be anomalous to conclude that these individual defendant employees’ Sixth Amendment rights

were violated by denying them access to the restrained assets, although a pre-trial restraining

order freezing assets in a defendant’s possession which the defendant seeks to use to pay his own

attorney does not violate that defendant’s Sixth Amendment rights. United States v. Monsanto,

491 U.S. 600 (1989). Monsanto, which construed the similar provisions of 21 U.S.C. § 853,

concluded that the authorization for issuance of a temporary restraining order is “plainly aimed at
implementing the commands of § 853(a) and cannot sensibly be construed to give the district

court discretion to permit the dissipation of the very property that § 833(a) requires to be

forfeited upon conviction.” Id., at 612-134

       Defendants have cited United States v. Stein, 435 F. Supp. 2d 330 (S.D.N.Y. 2006) in

support of their argument. However, the facts in Stein are completely distinguishable. The

corporate employer, KPMG, which sought to pay the legal fees of its employees, had not, itself,

been indicted and no restraining order had been issued with respect to its assets, a distinction

which the Stein court noted. Id., at 367. That court, in those circumstances, answered

affirmatively the question whether “a criminal defendant has the right to obtain and use in order

to prepare a defense resources lawfully available to him or her, free of knowing or reckless

government interference,” id. at 361, a proposition with which this court has no quarrel.

                                         Fifth Amendment

       The Supreme Court in Monsanto held that pretrial restraint of assets was permissible

based on a finding of probable cause to believe they were forfeitable, 491 U.S. at 615, but did not

consider the implications of the Due Process Clause. On remand, the Second Circuit Court of

Appeals clarified that “[t]he fifth and sixth amendments, considered in combination, require an

       4
         Indeed, Section 1963(c) requires that property transferred to a third party, such as an
attorney, be ordered forfeited to the United States unless the transferee establishes that he was
reasonably without cause to believe the property was subject to forfeiture.
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adversary, post-restraint, pretrial hearing as to probable cause that (a) the defendant committed

crimes that provide a basis for forfeiture and (b) the properties specified in the indictment are

properly forfeitable to continue a restraint of assets ( i) needed to retain counsel of choice and (ii)

ordered ex parte.” United States v. Monsanto, 924 F.2d 1186, 1203 (2d Cir. 1991)

       Accordingly, if any individual movant can show that (1) access to the restrained funds is

necessary to retain counsel and that he is prepared to comply with the provisions of § 33-773(a)

of the Connecticut General Statutes and (2) that the procedural requirements for action by the

corporation by which he is employed under § 33-776 have been met, this court will schedule the

probable cause hearing mandated by the Second Circuit Court of Appeals.
                                         Eighth Amendment

       Defendant corporations claim that the temporary restraining order violates the Eighth

Amendment prohibition against excessive fines and that, because the conspiracy count in the

indictment only alleges overt acts allegedly committed in 2004 and 2005, assets derived prior to

2004 are not subject to forfeiture. They have cited no authority for this latter proposition.

       The indictment alleges defendant corporations participated in a racketeering conspiracy

beginning in or about 1990 and continuing to the date of the indictment [June 8, 2006]. If any of

the corporations is found guilty at the conclusion of this litigation, a determination will be made

as to what assets were obtained as a result of the criminal activity alleged and proved and

whether the forfeiture sought would be an excessive fine. It is premature to resolve either of

these claims at this time.

       Accordingly, the motions [Doc. Nos. 120, 428, 432 and 494]are granted in part and

denied in part.

                                       SO ORDERED.



                                       __________________________________
                                       ELLEN BREE BURNS, SENIOR JUDGE
                                       UNITED STATES DISTRICT COURT

       Dated at New Haven, CT, this ___ day of November, 2006.
